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                                   STATEMENT OF FACTS

        Your affiant, Matthew Foulger, is a Special Agent with the United States Department of
Justice, Federal Bureau of Investigation (FBI) and has been employed in that capacity for nine
years. I am currently assigned to the Salt Lake City Division of the FBI and have primary
investigative responsibility for federal crimes related to national security and domestic terrorism.
I have gained experience in the conduct of such investigations through previous case
investigations, formal training, and in consultation with law enforcement partners in local, state,
and federal law enforcement agencies. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The United States Capitol (“the Capitol”) is secured 24 hours a day by U.S. Capitol Police
(“USCP”). Restrictions around the Capitol include permanent and temporary security barriers and
posts manned by USCP. Only authorized people with appropriate identification were allowed
access inside the Capitol on January 6, 2021. Further, the exterior plaza of the Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Michael Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. At
such time, the exterior doors and windows of the U.S. Capitol were locked or otherwise secured.
Members of the USCP attempted to maintain order and keep the crowd from entering the Capitol;
however, around 2:00 p.m., individuals in the crowd forced entry into the Capitol, including by
breaking windows and by assaulting members of law enforcement, as others in the crowd
encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including Vice President Pence, were instructed to—
and did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended. Vice President Pence remained in the United States Capitol from the time
he was evacuated from the Senate Chamber until the sessions resumed at approximately 8:00 p.m.

       On January 6, 2021, Gary Wilson of Salt Lake City, Utah was captured on Metropolitan
Police Department body-worn camera video outside the Capitol at approximately 2:00 p.m. with
co-defendants Patrick Montgomery and Brady Knowlton in a large crowd of rioters. Wilson was
wearing a blue hooded sweatshirt and a black puffy jacket with a white Infowars tee-shirt over it
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with the slogan, “Give me Liberty” and a Revolutionary War soldier depicted holding an
automatic weapon. Wilson was also wearing a black backpack and gray baseball hat with a red,
white, and blue emblem, as shown in the screenshot below from USCP CCTV footage.




       While Wilson was outside the Capitol, a platoon of MPD officers tried to move through
the crowd on its way to assist USCP officers who were attempting to keep rioters out of the Capitol.
The crowd surrounded the platoon and assaulted several officers. Officer Daniel Hodges’ body-
worn camera footage from 2:01:38 p.m. captures Wilson standing with the crowd.
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    At around 2:00 p.m. co-defendant Brady Knowlton confronted MPD officers who were
making their way through the crowd and yelled at them saying, “You took an oath! You took an
oath!” and “Are you our brothers?” Co-defendant Patrick Montgomery came up from behind
Knowlton and said something to the officers, but it was hard to tell what he said. Officer Hodges
then moved forward a few steps through the crowd. Wilson can be seen on Hodges’ video
standing in the crowd (see screenshot above)—not far from where Montgomery and Knowlton
were standing. In fact, Officer Hodges and Wilson collided as Officer Hodges tried to make his
way through the crowd.

         At approximately 2:02 p.m., Montgomery assaulted MPD Officer Hodges. An FBI
special agent interviewed Officer Hodges on February 24, 2021. Officer Hodges told the FBI
agent that at about 2:00 p.m. on January 6, 2021, he was making his way toward the west side of
the Capitol to assist other officers. He was part of a platoon of about 35-40 officers. Officer
Hodges said that right before 2:02 p.m., a very agitated crowd cut-off the platoon’s progress and
split the group of 35-40 officers into smaller groups. Officer Hodges and a small group of
officers ended up encircled by the crowd and the crowd was yelling at them “remember your
oaths.”

        Officer Hodges said that he was at the front of the group and attempted to make a hole
through the crowd for himself and the other officers to continue their movement toward the
Capitol. He yelled “make way” to the crowd. While trying to get through the crowd, he looked
back to see other officers being assaulted by members of the crowd, which was yelling “push”
while making contact with the officers. Hodges immediately turned back and started pulling
assaulting members of the crowd off the other officers by grabbing their jackets or backpacks.
After pulling a few people away from the officers, a man—later identified as Patrick
Montgomery—came at Officer Hodges from his side and grabbed Officers Hodges’ baton and
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tried to pull it away from him. Officer Hodges immediately started to fight back and the two of
them went to the ground, at which time Montgomery kicked Officer Hodges in the chest.

       As Officer Hodges went down to the ground, his medical mask covered his eyes, which
temporarily blinded him. He was laying on the ground, could not see, and was fighting to retain
his weapon while surrounded by a violent and angry crowd. In that moment, he was afraid
because he was in a defenseless position because of the assault. He was able to break
Montgomery’s grip on the baton and get free.

      Right after Montgomery assaulted Officer Hodges, Wilson can be seen on Officer
Hodges’ BWC talking to Montgomery who had moved back into the crowd as shown below




        Tear gas was then deployed, while Wilson stood with the crowd and shouted at the
officers, “USA! USA! USA!”
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As seen on video footage from ProPublica, Wilson watched as a member of the crowd sprayed
what appeared to be pepper spray in the face of one of the MPD officers:
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       About thirty minutes later, at 2:35 p.m., Wilson was captured on USCP CCTV entering the
Capitol through the Upper West Terrace door along with co-defendants Knowlton and
Montgomery, as shown in the screenshot below:

    Gary Wilson

     Patrick Montgomery

    Brady Knowlton




After first going into the Rotunda for about two minutes, at around 2:40 pm., Wilson, along with
Knowlton and Montgomery, entered the Gallery Stairs and walked to the Third Floor as shown on
USCP CCTV captured below:
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        About one minute later, they entered the Senate Gallery hallway where they joined a group
of rioters. Several rioters assaulted a USCP officer who was trying to prevent them from entering
the Senate Gallery. Wilson was within inches of the assault, as captured below from another
rioter’s GoPro camera video:

                                                            Rioters assaulting
                                                            this USCP officer
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       After the assault, the USCP officers fled the hallway and Wilson, Knowlton, and
Montgomery entered the Senate Gallery at about 2:44 p.m. Once inside the Senate Gallery, Wilson
appears to walk around and look down at the Senate Chamber below. He then left with Knowlton
and Montgomery at about 2:48 p.m.

       About two minutes later, Wilson, along with Knowlton and Montgomery, entered a second
floor hallway, where they confronted MPD officers, who prevented them—and other rioters—
from walking further down the hallway, as captured below:




A shortened summary of their statements to law enforcement is provided below:

       Knowlton: “All you gotta do is step aside. You’re not getting in trouble. Stand down. For
       the love of your country.”

       Unidentified rioter: “What happens if we push? Do you back up? We’re not gonna push
       hard.”

       Knowlton: “This is happening. Our vote doesn’t matter, so we came here for change.”

       Unidentified rioter: “We want our country back. You guys should be out arresting the
       Vice President right now.”

       Wilson: “We came all the way from our jobs to do your job and the freaking senators’
       job.”

Eventually Wilson, Montgomery, and Knowlton turned around and walked toward an exit before
stopping and again confronting police officers as shown on USCP CCTV, captured below.
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At about 2:54 p.m., Wilson, Montgomery, and Knowlton left the building.

       On August 6, 2021, your affiant interviewed a witness, W-1, who is a family member of
Wilson and has known Wilson for many years. W-1 identified Gary Wilson in screenshots inside
the Capitol on January 6, 2021. W-1 also told your affiant that Wilson said he was in Washington,
D.C. on January 6, 2021.

       Pursuant to legal process, American Airlines confirmed that Wilson traveled from Salt
Lake City to Washington, D.C. on January 4, 2021. He then took a return flight home on January
7, 2021. Further, call records provided by Verizon pursuant to legal process show one call made
between a number registered to Knowlton and a number registered to Wilson on January 6, 2021,
and four calls between them on January 7, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Gary Wilson violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
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the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Gary Wilson violated 40
U.S.C. § 5104(e)(2)(B), (D), and (G), which makes it a crime to willfully and knowingly (B) enter
or remain in the gallery of either House of Congress in violation of rules governing admission to
the gallery adopted by that House or pursuant to an authorization given by that House; (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; (G) parade, demonstrate, or picket in any of the Capitol Buildings.

Finally, your affiant submits there is probable cause to believe that Gary Wilson violated 18 U.S.C. §
1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.



                                                       _________________________________
                                                       Special Agent Matthew Foulger
                                                       FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this ___9__ day of September 2021.


                                                       ___________________________________
                                                       ROBIN M. MERIWEATHER,
                                                       U.S. MAGISTRATE JUDGE
